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 6              IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                   Plaintiff,
                                              CR. NO. S-08-0420 EJG
11              v.
                                              ORDER DENYING MOTION FOR
12   JESUS CAMACHO PADILLA,                   DOWNWARD DEPARTURE

13                  Defendant.
     _____________________________/
14

15         Defendant, a federal prisoner proceeding pro se, has filed a

16   motion seeking a downward departure for mitigating role in the

17   offense, pursuant to United States Sentencing Guideline § 3B1.2.

18   For the reasons that follow, the motion is DENIED.

19         On May 1, 2009, defendant was convicted pursuant to his plea

20   of guilty to one count of conspiracy to possess with intent to

21   distribute methamphetamine, in violation of 21 U.S.C. §§

22   841(a)(1) and 846.    He was sentenced September 25, 2009 to a term

23   of 108 months imprisonment and three years supervised release.

24   Now, almost one year later, he moves to reduce his sentence.

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 1        After entry of judgment, the situations under which a

 2   sentence can be modified or corrected are few, and most are

 3   governed by strict time constraints.      See generally, Fed. R.

 4   Crim. P. 35 (sentence correction); 18 U.S.C. § 3582 (sentence

 5   modification); 18 U.S.C. § 3742 (appeal of sentence).          None of

 6   the relevant statutes and rules under which sentences may be

 7   modified, corrected or appealed apply to defendant’s request for

 8   a sentence reduction.    Rule 35 relates to the correction of

 9   clerical errors, 35(a), and to the provision of substantial

10   assistance to the government, 35(b).      Section 3582 concerns

11   sentence modifications made at the request of the Bureau of

12   Prisons for certain unique circumstances, 3582(c)(1), or in

13   situations where the sentencing range has been lowered by the

14   Sentencing Commission, 3582(c)(2).      Section 3742 provides limited

15   situations in which defendants may file appeals, none of which

16   are applicable.   Moreover, as part of his plea agreement,

17   defendant waived his right to appeal and collateral attack of his

18   conviction and sentence.

19        Finally, even were the court to find a procedural vehicle

20   through which to entertain defendant’s motion, it would fail on

21   the merits.   Defendant’s request for a sentence reduction is

22   based on his alleged “mitigating” role in the offense.          In his

23   plea agreement defendant reserved the right to argue for a role

24   adjustment, and in fact, filed a sentencing memorandum in which

25   he did just that, arguing that he was but a driver and had no

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 1   knowledge of and did not participate in conversations in which

 2   the drug transaction was negotiated.      The court rejected

 3   defendant’s argument, and adopted the presentence report’s

 4   finding that the defendant and his two co-defendants were equally

 5   culpable.

 6        Based on the foregoing, defendant’s motion for a downward

 7   departure is DENIED.

 8        IT IS SO ORDERED.

 9   Dated: August 31, 2010

10                                    /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
11                                    UNITED STATES DISTRICT COURT

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